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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                       Hon. Madeline Cox Arleo


       V.                                       Grim. No. 24-407


 TIMOTHY BOGEN,
 KEVIN FRINK,
 DION JACOB,
 QUINTON JOHNSON,
 DAVID LONERGAN,
 DAVID IVECBRIEN,
 RODOLFO RIVERA,
 GREGORY RICHARDSON,
 MICHAEL TOAL, and
 DAMANY WALKER                                  ORDER FOR A CONTINUANCE


      This matter having come before the Court on the joint application of Philip R.

Sellinger, United States Attorney for the District of New Jersey (by Katherine M.

Romano and Jessica R. Ecker, Assistant U.S. Attorneys, appearing) and defendant


Damany Walker (by Michael Rosas, Esq., appearing) for an order granting a

continuance of the proceedings in the above-captioned matter; and- the defendant


being aware that he has the right to have this matter brought to trial within 70 days

of the filing date of the indictment or the date of his appearance before a judicial

officer of this court pursuant to 18 U.S.C. § 3161(c)(l), whichever is later; and the

defendant, through his attorney, having consented to this continuance and having

waived such right; and for good cause shown,
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       IT IS THE FINDING OF THIS COURT that this action should be continued

for the following reasons:

              (1) This case is an unusual or complex case within the meaning of the

Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(B)(ii), in light of the number of defendants

and the nature of the prosecution, such that it is unreasonable to expect adequate


preparation for pretrial proceedings or for the trial itself within 70 days;

              (2) The discovery in the case is voluminous, consisting of, among

other things, insurance claims data, billing records, text messages, video recordings,


phone records, other electronic documents, bank records, and financial records, and


additional time is necessary to ensure that, taking into account the exercise of


diligence, defense counsel have sufficient time to review and inspect discovery and

further investigate the charges in the matter;

              (3) As a result of the foregoing, pursuant to Title 18, United States

Code, Section 3161(h)(7)(A) and (h)(7)(B)(ii) and (iv), the ends of justice served by

granting the continuance outweigh the best interest of the public and the defendant

in a speedy trial.

       IT IS, therefore, on this AA4. day of.Jt<W 2024,
                                                    I


       ORDERED that this action be, and hereby is, continued under the Speedy Trial

Act from the date this Order is signed through and including October 4, 2024; and it

is further
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       ORDERED that the period from the date this Order is signed through and

including October 4, 2024 shall be excludable in computing time under the Speedy

Trial Act of 1974.




                                           HON. MADELINE COXARLEO
                                           United States District Judge



Form and entry consented to:


/s/ Jessica R. Ecker
Katlierine M. Romano
Jessica R. Ecker
Assistant U.S. Attorneys




Michael Rosas, Esq.
Counsel for Defendant Damany Walker
